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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: July 10, 2023.

                                                              __________________________________
                                                                      SHAD M. ROBINSON
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                 In re:                             §                 Chapter 7
                                                    §
                 ASTRALABS, INC.,                   §                 Case No. 23-10164-SMR
                      Debtor.                       §

              CONSENT ORDER GRANTING PARTIAL RELIEF OF THE MOTION
               OF AFCO CREDIT CORPORATION FOR AN ORDER GRANTING
                        RELIEF FROM THE AUTOMATIC STAY

          This matter is before the Court upon the agreement of the Chapter 7 Trustee (the “Trustee”)

   and AFCO Credit Corporation (“AFCO” and, with the Trustee, the “Parties”). Based upon the

   agreement of the Parties and for good cause shown, the Court finds, concludes, and orders as

   follows:

          1.     The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

   1334. This is a “core” proceeding according to 28 U.S.C. § 157(b), and venue in this Court is

   proper under 28 U.S.C. §§ 1408 and 1409.

          2.     On March 17, 2023 (the “Petition Date”), Astralabs, Inc. (the “Debtor”) filed a

   voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”)
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   [Doc. No. 1]. The Debtor’s case was converted to one under chapter 7 on May 12, 2023 [Doc. No.

   89].

          3.      Prior to the Petition Date, Debtor and AFCO entered into those certain:

   (a) Commercial Premium Finance Agreement, dated January 11, 2023 (as amended, the “First

   Finance Agreement”) for its directors and officers (the “First Finance Policy”); (b) Commercial

   Premium Finance Agreement, dated January 23, 2023 (the “Second Finance Agreement”) for its

   professional liability policy (the “Second Finance Policy”); and (c) Commercial Premium Finance

   Agreement, dated February 24, 2023 (the “Third Finance Agreement”) for its employment

   practices liability policy (the “Third Finance Policy” and, together with the First Finance Policy

   and the Second Finance Policy, the “Finance Policies”).

          4.      Per the Finance Agreements, AFCO has a first-priority security interest in the

   Financed Policies’ unearned insurance premiums (the “Unearned Premiums”). The amount of the

   Unearned Premiums decreases every day as funds are applied daily to the premiums of the

   Financed Policies as they become due.

          5.      Post-petition, the Debtor made its monthly May 2023 payment due under the

   Finance Agreements, but the payment was returned unauthorized. The Debtor has failed to make

   any payments thereafter.

          6.      On June 8, 2023, AFCO filed its Motion of AFCO Credit Corporation for An Order

   Granting Relief from the Automatic Stay [Doc. No. 127], seeking stay relief to (i) cancel the

   Financed Policies nunc pro tunc to May 6, 2023, (ii) collect the Unearned Premiums, (iii) and

   apply the Unearned Premiums to the outstanding indebtedness owed under its Finance Agreements

   with Debtor.
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         7.     The Trustee and AFCO agree:

                a.     Upon entry of this Order, AFCO is granted relief from the automatic stay

                       solely for the purpose of cancelling the Professional Liability Policy and the

                       Employment Practices Liability Policy nunc pro tunc to May 6, 2023. Such

                       relief shall be immediate and the 14-day waiting period provided by Fed. R.

                       Bankr. Proc. Rule 4001(a)(3) shall not apply.

                b.     AFCO is allowed a chapter 11 administrative expense priority claim in the

                       amount of $3,255.18 for the May and June payments on the Directors and

                       Officers Policy finance agreement, with such claim to be paid as, when, and

                       to the extent that other chapter 11 administrative expense priority claims are

                       paid in the bankruptcy case;

                c.     AFCO may seek cancellation of the Directors and Officers Policy effective

                       July 6, 2023.

                                                  ###

   AGREED BY AND CONSENTED TO BY:

    REED SMITH LLP                                 MUNSCH HARDT KOPF & HARR, P.C.

    By:    /s/ Daniela Mondragón                   By:    /s/ Thanhan Nguyen
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